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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


TAMEKA RILEY                                                                          PLAINTIFF

vs.                                   CASE NO. 4:10-CV-00326 GTE

REGENT ASSET MANAGEMENT
SOLUTIONS, INC.                                                                     DEFENDANT

                                          JUDGMENT

       For the reasons stated in the Court’s Order entered this date, IT IS HEREBY

CONSIDERED, ORDERED, and ADJUDGED that Tameka Riley is hereby entitled to recover

from Regent Asset Management Solutions, Inc., the sum of $2,500.00, together with post-

judgment interest thereon from this date until paid accruing at the rate of 0.25 % per annum as

provided by law. Plaintiff is also awarded attorney’s fees in the sum of $2,414.00. The Court

retains jurisdiction to award attorney’s fees and costs incurred in collecting this Judgment.

       IT IS SO ORDERED this 27th day of August, 2010.


                                                      /s/Garnett Thomas Eisele
                                                      G. THOMAS EISELE
                                                      UNITED STATES DISTRICT JUDGE
